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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                             U.S. Magistrate Judge S. Kato Crews

   Civil Action No. 16-cv-01789-WJM-SKC

   JOHN DOE,

           Plaintiff,

   v.

   PHILIP DISTEFANO,

           Defendant.



                        ORDER SETTING SETTLEMENT CONFERENCE


        1. A Settlement Conference is set in this matter for Wednesday, July 3, 2019, at
           1:00 P.M. in Courtroom C204 of the Byron Rogers Courthouse, 1929 Stout Street,
           Denver, Colorado 80294 before Magistrate Judge S. Kato Crews.

        2. Unless otherwise ordered, counsel shall have all parties present at settlement
           conferences, including all individually named parties or a representative of each
           named entity. Counsel shall also have in attendance all individuals with full
           authority to negotiate all terms and demands presented by the case, and full
           authority to enter into a settlement agreement, including, but not limited to, an
           adjustor, if an insurance company is involved. “Full authority” means that the
           person who attends the settlement conference has the complete and unfettered
           capacity and authority to meet or pay all terms or amounts which are demanded
           or sought by the other side of the case without consulting with some other person,
           committee or agency.

        3. In exceptional circumstances, the appearance of a party, or an insurance or party
           representative by telephone may be approved in advance of the settlement
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         conference. Any party seeking such relief should file the appropriate motion with
         the Court after conferring with opposing counsel.

      4. No person is ever required to settle a case on any particular terms or amounts.
         However, both parties must participate in the settlement conference in good faith,
         pursuant to Fed. R. Civ. P. 16(f). If any party or party representative attends the
         settlement conference without full authority, fails to attend the proceeding without
         prior Court approval, or fails to participate in the proceeding in good faith, and the
         case fails to settle, that party may be ordered to pay the attorney’s fees and costs
         for the other side.

      5. Counsel shall prepare and submit two position statements: one to be submitted to
         the other party or parties, and the other to be submitted by email only to the
         Magistrate Judge, no later than Tuesday, June 25, 2019. Statements and exhibits
         are limited to 35 pages. A request for additional pages should be emailed to
         Chambers (with a copy to the opposing party) no later than two (2) days prior to
         the position statement deadline. The email should specify the number of additional
         pages requested, and explain why additional pages are necessary.

             a. The statement(s) presented to opposing counsel shall contain an overview
                of the case from the presenter’s point of view, shall summarize the evidence
                which supports that side’s claims, and may present a demand or offer.
                These statements should be intended to persuade the opposing clients and
                counsel.

             b. The second statement shall be emailed to Chambers (not submitted for
                filing to the court) at Crews_Chambers@cod.uscourts.gov. This statement
                shall contain the content or copies of the first statement along, any
                confidential comments the party or counsel wishes to make. The statement
                shall directly address the concerns, needs, and fears which may affect the
                party's settlement position or ability to settle.

      6. Counsel shall participate in individual phone calls with Magistrate Judge Crews
         prior to the Settlement Conference. These phone calls are off-the-record and are
         an opportunity for the Judge Crews to raise questions stemming from his review
         of the position statements. Counsel shall call Chambers at 303.335.2124 at the
         following times:



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            a. Plaintiff’s Counsel: Tuesday, July 2, 2019 at 4:00 P.M.

            b. Defense Counsel: Tuesday, July 2, 2019 at 3:00 P.M.


   SO ORDERED, this 13th day of June, 2019.




                                                S. Kato Crews
                                                United States Magistrate Judge




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